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Case: 1:06-cv-02160 Document #: 1 Filed: 04/18/06 Page 2 of 23 PageID #:2
Case: 1:06-cv-02160 Document #: 1 Filed: 04/18/06 Page 3 of 23 PageID #:3
Case: 1:06-cv-02160 Document #: 1 Filed: 04/18/06 Page 4 of 23 PageID #:4
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Case: 1:06-cv-02160 Document #: 1 Filed: 04/18/06 Page 23 of 23 PageID #:23
